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                                      UNITED STATES BANKRUPTCY COURT
                                             Eastern District of Missouri
                                         Thomas F. Eagleton U.S. Courthouse
                                         111 South Tenth Street, Fourth Floor
                                                St. Louis, MO 63102


IN RE:
CASE NO.: 08−40425
CHAPTER: 7
DEBTOR(s):
David Everett Dillon − See below for reported alias information
xxx−xx−5418
Sari Ann Dillon − See below for reported alias information
xxx−xx−3476

                                                     FINAL DECREE


 The Court finds that the trustee has performed all required duties in the administration of this case; that the Trustee
has made distribution of all funds which came into the Trustee's posession as required by orders of this Court and has
rendered a full and complete account thereof; and that the Trustee has performed all other and further duties required
in the administration of this case; and that the estate of the above named debtor has been fully administered.

 IT IS ORDERED that the report of said Trustee be and it is approved and allowed; that the Trustee be discharged and
relieved of his trust; that the blanket bond of the Trustee, insofar as it applies to this estate, be canceled and the surety
thereon be released from further liability, except any liability which may have accured during the time such bond was
in effect.

 IT IS FURTHER ORDERED that the debtor is relieved of further responsibility for keeping this Court and the
Trustee advised of his current mailing address.

 IT IS FURTHER ORDERED that case is closed.




                                                                                                  U. S. Bankruptcy Judge

Dated: 4/16/08


Reported Alias Information:
David Everett Dillon −
Sari Ann Dillon − Sari Ann Taton
